Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 1 of 7 PageID #: 129
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 2 of 7 PageID #: 130
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 3 of 7 PageID #: 131
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 4 of 7 PageID #: 132
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 5 of 7 PageID #: 133
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 6 of 7 PageID #: 134
Case 3:10-cr-00090   Document 68   Filed 08/10/12   Page 7 of 7 PageID #: 135
